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                         Exhibit B
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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

    STATE OF TEXAS, et al.,                                  )
                                                             )
                           Plaintiffs,                       )
                                                             )
            v.                                               )
                                                             )
    GOOGLE LLC,                                              ) Civil Action No. 4:20-cv-00957-SDJ
                                                             )
                                                             )
                           Defendant.                        )
                                                             )
                                                             )

                 UNITED STATES’ STATEMENT OF INTEREST REGARDING
                 PROPOSED ORDER FOR REPRODUCTION OF DISCOVERY

          On May 28, 2024, Google and the Plaintiffs filed a joint Stipulation and Proposed Order

   for Reproduction of Discovery. ECF No. 504. During the Court’s hearing on May 6, 2024, the

   Court invited the United States to submit its position thereon if desired. 5/6/2024 Hearing Tr. at

   18:8-11. The United States hereby requests that the following language be added to the Proposed

   Order, if and when entered: “Subject to any restrictions imposed by the Court in the Eastern

   District of Virginia, nothing in this Order, or any other Order of this Court, prevents the plaintiffs

   in the EDVA Action from obtaining unredacted transcripts and exhibits of depositions taken in

   this case directly from the court reporters for those depositions.”

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         Dated: May 30, 2024            Respectfully submitted,

                                        DOHA G. MEKKI
                                        Principal Deputy Assistant Attorney General
                                        Antitrust Division

                                        /s/ Julia Tarver Wood
                                        JULIA TARVER WOOD

                                        United States Department of Justice
                                        Antitrust Division
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                                        ATTORNEYS FOR THE
                                        UNITED STATES OF AMERICA




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                                      CERTIFICATE OF SERVICE

           I hereby certify on this 30th day of May, 2024, I caused a true and accurate copy of the

   foregoing to be filed using the Court’s CM/ECF system, which will send an electronic notice of

   filing to all counsel of record.



                                                      /s/ Julia Tarver Wood
                                                      JULIA TARVER WOOD
                                                      Senior Litigation Counsel




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